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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



DONALD J. TRUMP FOR PRESIDENT, INC.

v.                                                              Case No.: 20-5533

PHILADELPHIA COUNTY BOARD OF ELECTIONS


                    NOTICE OF SERVICE UPON PLAINTIFF OF
                  COUNSEL’S MOTION FOR LEAVE TO WITHDRAW
                         AS COUNSEL FOR PLAINTIFF

       The Undersigned submits this Notice to advise the Court that his Motion for Leave to

Withdraw as Counsel for Plaintiff has been served by email upon a representative of the Trump

Campaign authorized to received it.


                                          Respectfully submitted,


                                          /s/ Jerome M. Marcus
                                          Jerome M. Marcus
                                          P.A. Bar No. 50708
                                          P.O. Box 212
                                          Merion Station, PA 19066
                                          (610) 246 6584
                                          jmarcus@marcuslaw.us
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                                CERTIFICATE OF SERVICE

       I, Jerome M. Marcus, Esquire hereby certify that on this 7th day of January, 2021, I served

a true and correct copy of the foregoing Notice of Service upon Plaintiff of Counsel’s Motion for

Leave to Withdraw as Counsel for Plaintiff on all counsel of record via email.




                                              /s/ Jerome M. Marcus
                                              Jerome M. Marcus, Esquire
